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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 HB Productions, Inc.,          )               Civil No. 19-00487 JMS-KJM
                                )
                    Plaintiff,  )               ORDER GRANTING PLAINTIFF’S
                                )               EX PARTE MOTION FOR LEAVE TO
       vs.                      )               SERVE THIRD PARTY SUBPOENA
                                )               PRIOR TO A RULE 26(f)
 Muhammad Faizan; JOHN DOE      )               CONFERENCE
 dba ibit.uno; and DOES 1-35,   )
                                )
                    Defendants. )
 _______________________________)

   ORDER GRANTING PLAINTIFF’S EX PARTE MOTION FOR LEAVE TO
  SERVE THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       On September 9, 2019, Plaintiff HB Productions, Inc. (“Plaintiff”) filed an Ex

 Parte Motion for Leave to Serve Third Party Subpoena Prior to a Rule 26(f)

 Conference (“Motion”). ECF No. 6. The Court finds this matter suitable for

 disposition without a hearing pursuant to Rule 7.1(c) of the Local Rules of Practice

 for the United States District Court for the District of Hawaii. After carefully

 considering the Motion and the applicable law, the Court hereby GRANTS Plaintiff’s

 Motion for the reasons set forth below.

                                    BACKGROUND

       Plaintiff commenced this copyright infringement action on September 9, 2019.

 ECF No. 1. Plaintiff asserts that it is the copyright owner of the motion picture

 “Hellboy” (the “Work”), which “tells the story of a legendary half-demon superhero
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 called to the English countryside to battle a trio of rampaging giants where he

 suddenly becomes caught in a clash between the supernatural and the human.” ECF

 No. 1 at 13 ¶ 27. Plaintiff alleges that Defendants Muhammad Faizan and John Doe

 dba ibit.uno (collectively, “Operator Defendants”) operate interactive websites that

 include “a library of torrent files for copyright protected motions pictures,” including

 the Work. Id. at 14 ¶ 34. Plaintiff alleges that the “torrent files can be used by a

 BitTorrent client application to download motion pictures for free and without a

 license.” Id.

       Plaintiff alleges that, without Plaintiff’s consent, Doe Defendants 1 through 35

 (collectively, “Doe Defendants”) illegally copied and distributed the Work through

 BitTorrent, one of the most common peer-to-peer file sharing protocols used for

 distributing large amounts of data. See generally id. at 19-25 ¶¶ 49-78; ECF No. 6-1

 at 1-2. Based on these allegations, Plaintiff asserts claims against Operator

 Defendants and Doe Defendants (collectively, “Defendants”) for, among other things,

 direct copyright infringement and contributory copyright infringement pursuant to 17

 U.S.C. § 101, et seq. (“the Copyright Act”). ECF No. 1 at 31-41.

       Plaintiff does not know Doe Defendants’ names and addresses because Doe

 Defendants used the Internet anonymously when conducting their allegedly

 infringing activities. ECF No. 6-1 at 2. Plaintiff has nonetheless been able to identify

 (1) the Internet Protocol (“IP”) addresses that are being used by those individuals

 participating in the allegedly infringing activities, and (2) the time of the
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 infringement. Id.; ECF No. 1-1, Exh. 1 to Complaint. Plaintiff has also identified the

 related Internet Service Providers (“ISP”) as Charter Communications, LLC dba

 Spectrum (“Spectrum”) and Hawaiian Telcom. ECF No. 6-1 at 2. Accordingly,

 Plaintiff seeks leave to take early discovery through subpoenas to Spectrum and

 Hawaiian Telcom to determine the names and addresses of the subscribers/Doe

 Defendants connected to the IP addresses that have been linked to the alleged

 infringement of Plaintiff’s Work. Id.

                                      DISCUSSION

       Generally, unless authorized by court order, a party is prohibited from seeking

 discovery before the Federal Rule of Civil Procedure 26(f) conference. Fed. R. Civ.

 P. 26(d)(1). In rare situations, “courts have made exceptions, permitting limited

 discovery to ensue after filing of the complaint to permit the plaintiff to learn the

 identifying facts necessary to permit service on the defendant.” Columbia Ins. Co. v.

 Seescandy.com, 185 F.R.D. 573, 577 (N.D. Cal. 1999) (citing Gillespie v. Civiletti,

 629 F.2d 637, 642 (9th Cir. 1980)). In deciding whether to allow early discovery,

 courts consider whether a plaintiff has shown good cause. See Semitool, Inc. v. Tokyo

 Electron Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002). “Good cause” may be

 found where the “need for expedited discovery, in consideration of the administration

 of justice, outweighs the prejudice to the responding party.” Id.

       Where the identity of the defendant is not known, the Ninth Circuit has held

 that a plaintiff “should be given an opportunity through discovery to identify the
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 unknown defendants, unless it is clear that discovery would not uncover the identity,

 or that the complaint would be dismissed on other grounds.” Gillespie, 629 F.2d at

 642. Courts examine various factors in evaluating whether a plaintiff has established

 good cause for early discovery to assist in the identification of doe defendants,

 including whether plaintiff has made a prima facie showing of infringement, whether

 plaintiff has identified the doe defendants with sufficient particularity, and whether

 the requested discovery is likely to lead to identifying information. See, e.g., Patrick

 Collins, Inc. v. Does 1-1219, No. C 10-14468 LB, 2010 WL 5422569, at *2 (N.D.

 Cal. Dec. 28, 2010) (citations omitted). Courts have found that good cause exists to

 permit “expedited discovery to ascertain the identities of Doe defendants in copyright

 infringement actions.” AF Holdings, LLC v. Doe, Civ. No. S-12-1078 GEB GGH,

 2012 WL 1610185, at *2 (E.D. Cal. May 8, 2012) (citing UMG Recordings, Inc. v.

 Doe., No. C-08-03999 RMW, 2008 WL 4104207 (N.D. Cal. Sept. 4, 2008); Arista

 Records LLC v. Does 1-43, Civil No. 07cv2357-LAB (POR), 2007 WL 4538697

 (S.D. Cal. Dec. 20, 2007)).

       The Court finds that Plaintiff has made a sufficient showing to establish good

 cause to engage in early discovery to identify Doe Defendants. First, Plaintiff has

 made a prima facie showing of copyright infringement and contributory copyright

 infringement. Plaintiff has alleged that: (1) it owns and has registered the Work;

 (2) Doe Defendants copied and distributed the Work without authorization; and

 (3) Doe Defendants’ actions damaged Plaintiff. As to Plaintiff’s claim for
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 contributory copyright infringement, Plaintiff alleges that each Doe Defendant caused

 or materially contributed to the direct infringement of Plaintiff’s copyright by other

 Defendants by participating in “BitTorrent swarm” with the other Defendants. These

 allegations are minimally sufficient to state a claim for contributory copyright

 infringement. See Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004)

 (concluding that a reasonable trier of fact could conclude that storing infringing

 copies of copyrighted works on a peer-to-peer file sharing network and providing the

 network’s users with access to those copies materially contributed to the copyright

 infringement).

       Second, Plaintiff’s Complaint identifies Defendants with as much specificity as

 presently possible. Plaintiff states that a third-party, using forensic software, scanned

 and analyzed peer-to-peer networks and identified Doe Defendants as persons or

 entities that were infringing on Plaintiff’s copyrighted Work. See ECF No. 1 at 24-

 25. Plaintiff provided as Exhibit 1 to its Complaint a list of the IP addresses

 associated with each Doe Defendant, along with the “hit date” that each IP address

 subscriber allegedly infringed on Plaintiff’s copyrighted work. See ECF No. 1-1.

 The IP addresses are located in the State of Hawaii, which indicates that the Court

 likely has jurisdiction over Doe Defendants. Id. at 3.

       The Court is not aware of any other reasonable measures Plaintiff could have

 taken thus far to identify Doe Defendants other than to obtain the subscribers’

 identifying information from the ISP. Moreover, Plaintiff has demonstrated that the
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 proposed subpoenas seek information likely to lead to identifying information that

 will allow Plaintiff to effect service of process on Doe Defendants.1

       Based on the foregoing, the Court finds that Plaintiff has demonstrated good

 cause to grant Plaintiff leave to conduct the early discovery requested in the Motion.

                                    CONCLUSION

       The Court hereby GRANTS Plaintiff’s Ex Parte Motion for Leave to Serve

 Third Party Subpoena Prior to a Rule 26(f) Conference, as follows:

       (1)    Plaintiff is allowed to serve Rule 45 subpoenas on Spectrum and
              Hawaiian Telcom to obtain the name and address of each subscriber
              associated with the IP addresses on the dates indicated in Exhibit 1 to the
              Complaint;

       (2)    Plaintiff shall serve a copy of this Order with any subpoenas issued
              pursuant to this Order;

       (3)    The subpoenas authorized by this Order shall be deemed appropriate
              court orders under 47 U.S.C. § 551;



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   The Court expresses no opinion as to whether this identifying information will
 ultimately reveal the individual or entity who allegedly committed the infringing act.
 Case law acknowledges the increasing number of devices and users for each IP
 address. See, e.g., In re BitTorrent Adult Film Copyright Infringement Cases, 296
 F.R.D. 80, 84 (E.D.N.Y. 2012) (“[I]t is no more likely that the subscriber to an IP
 address carried out a particular computer function . . . than to say an individual who
 pays the telephone bill made a specific telephone call.”); Malibu Media LLC v. Does
 1-5, No. 12 Civ. 2950 (JPO), 2012 WL 2001968, at *1 (S.D.N.Y. June 1, 2012) (“The
 fact that a copyrighted work was illegally downloaded from a certain IP address does
 not necessarily mean that the owner of that IP address was the infringer.”); Digital
 Sin, Inc. v. Does 1–176, 279 F.R.D. 239, 242 (S.D.N.Y. 2012) (noting the risk of
 “false positives” if the individuals identified by ISPs are not the individuals who
 downloaded the films at issue).

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        (4)    Spectrum and Hawaiian Telcom shall have 30 days from the date of
               service upon them to serve the subscribers of the IP addresses with a
               copy of the subpoenas and a copy of this Order. Spectrum and Hawaiian
               Telcom may serve the subscribers by any reasonable means, including
               written notice sent to the subscriber’s last known address via first class
               mail;

        (5)    The subscribers shall have 30 days from the date of service upon them to
               file any motions in this court contesting the subpoena. If that 30-day
               period lapses without a subscriber contesting the subpoena, Spectrum
               and Hawaiian Telcom shall have 10 days to produce the information
               responsive to the subpoena to Plaintiff;

        (6)    After Spectrum and Hawaiian Telcom are properly served with Rule 45
               subpoenas as detailed above, Spectrum and Hawaiian Telcom shall
               preserve all subpoenaed information pending the delivery of such
               information to Plaintiff or the resolution of a timely filed and granted
               motion to quash the subpoena with respect to such information; and

        (7)    Any information disclosed to Plaintiff in response to a subpoena may be
               used by Plaintiff solely for the purpose of protecting its rights under the
               Copyright Act, 17 U.S.C. § 101, et seq.

        IT IS SO ORDERED.

        DATED: Honolulu, Hawaii, September 25, 2019.



                                          Kenneth J. Mansfield
                                          United States Magistrate Judge



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 Plaintiff’s Ex Parte Motion for Leave to Serve Third Party Subpoena Prior to a Rule 26(f)
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